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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

 CHERYL HALL, and BRAD
 LAFUZE, on behalf of themselves and
 all others similarly situated,

      Plaintiffs,                      Case No. 20-cv-10670
                                       Hon. George C. Steeh
 v.                                    Mag. Judge Patricia T. Morris

 WELLPATH, LLC,

      Defendant.

 LIDDLE & DUBIN, P.C.                  CHAPMAN LAW GROUP
 Steven D. Liddle (P45110)             Ronald W. Chapman Sr., M.P.A.,
 Matthew Z. Robb (P81665)              LL.M. (P37603)
 Attorneys for Plaintiffs              Wedad Suleiman (P81970)
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 (313) 392-0025                        Troy, MI 48098
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 WELLPATH LLC’S ANSWER, AFFIRMATIVE DEFENSES, AND JURY
 DEMAND TO PLAINTIFFS’ FIRST AMENDED COMPLAINT [ECF 8]

      NOW COMES Defendant WELLPATH LLC (“Wellpath”), by and through

its attorneys, CHAPMAN LAW GROUP, and for its Answer to Plaintiffs’ First

Amended Complaint state as follows:
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                                I. INTRODUCTION

1. Defendant admits it is a health care services company contracted to provide

   health services in various jails in the State of Michigan. Defendant denies the

   remaining allegations contained in Paragraph 1 for the reason that they are untrue

   as stated.

2. Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

3. Defendant denies the allegations contained in Paragraph 3 for the reason that they

   are untrue as stated.

4. Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

5. No response is required because this paragraph states a legal conclusion. In the

   event that a response is required, Defendant neither admits nor denies the

   allegations contained therein, because it lacks sufficient knowledge and/or

   information sufficient to form a belief as to the truth of these allegations, and thus

   leave Plaintiffs to their proofs.




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6. Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

7. Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

8. Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

9. Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

10.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

11.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

12.Defendant denies the allegations contained in Paragraph 12 for the reason that

   they are untrue as stated.


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13.Defendant denies the allegations contained in Paragraph 13 for the reason that

   they are untrue as stated.

14.No response is required because this paragraph states a legal conclusion. In the

   event that a response is required, Defendant denies the allegations contained in

   Paragraph 14 for the reason that they are untrue as stated.

15. Defendant denies the allegations contained in Paragraph 15 for the reason that

   they are untrue as stated.

16. No response is required because this paragraph states a legal conclusion. In the

   event that a response is required, Defendant denies the existence of a statewide

   putative class of other similarly situated individuals. Defendant neither admits

   nor denies the allegations contained therein, because it lacks sufficient

   knowledge and/or information sufficient to form a belief as to the truth of these

   allegations, and thus leave Plaintiffs to their proofs.

                                    II. PARTIES

17.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

18.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.


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19.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

20.Defendant admits that it is a Delaware limited liability corporation contracted by

   various counties to provide health services in jails across the State of Michigan.

   As to the remaining allegations, no response is required as this paragraph states

   legal conclusions. In the event that a response is required, Defendant neither

   admits nor denies the allegations contained therein, because it lacks sufficient

   knowledge and/or information sufficient to form a belief as to the truth of these

   allegations, and thus leave Plaintiffs to their proofs.

21.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

                       III.      JURISDICTION AND VENUE

22.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant does not dispute jurisdiction.

23.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations


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   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

24.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

25.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

26.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.




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27.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

              IV.    GENERAL AND FACTUAL ALLEGATIONS

28.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

29.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

30.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

31.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.


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32.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

33.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

34.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

35.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

36.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

37.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.


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38.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

39.Defendant neither admits nor denies the allegations contained therein, because it

   lacks sufficient knowledge and/or information sufficient to form a belief as to the

   truth of these allegations, and thus leave Plaintiffs to their proofs.

40.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

41.No response is required as this paragraph states legal conclusions. In the event

   that a response is required, Defendant neither admits nor denies the allegations

   contained therein, because it lacks sufficient knowledge and/or information

   sufficient to form a belief as to the truth of these allegations, and thus leave

   Plaintiffs to their proofs.

42. Defendant admits the allegations contained therein.

43.Defendant admits the allegations contained therein.




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 44.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 45.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 46.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 47.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 48.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 49.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.




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 50.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 51.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 52.Defendant denies the allegations as untrue.

 53.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 54.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 55.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 56.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.




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 57.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 58.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 59.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 60.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 61.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 62.No response is required as any contract Wellpath has entered into speaks for

    itself. In the event a response is requires, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.


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 63.No response is required as any contract Wellpath has entered into speaks for

    itself. In the event a response is requires, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 64.No response is required as any contract Wellpath has entered into speaks for

    itself. In the event a response is requires, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 65.Defendant denies the allegations as untrue.

 66. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 67.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 68.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.


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 69.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 70.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 71.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 72.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 73.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 74.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.




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 75.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 76.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 77.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 78.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 79.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 80.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.




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 81.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 82.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 83.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 84.No response is required as this paragraph states legal conclusions. In the event

    that a response is required, Defendant neither admits nor denies the allegations

    contained therein, because it lacks sufficient knowledge and/or information

    sufficient to form a belief as to the truth of these allegations, and thus leave

    Plaintiffs to their proofs.

 85.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 86.The medical records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or


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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 87.The medical records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 88.The medical records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 89.The medical records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 90.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.


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 91.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 92.Defendant neither admits nor denies the allegations contained therein, because it

    lacks sufficient knowledge and/or information sufficient to form a belief as to the

    truth of these allegations, and thus leave Plaintiffs to their proofs.

 93.The jail records speak for themselves; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 94.The jail records speak for themselves; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 95.The jail records speak for themselves; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or




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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 96.The jail records speak for themselves; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 97.The jail records speak for themselves; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 98.The jail records speak for themselves; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 99.The jail records speak for themselves; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or


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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 100. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 101. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 102. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 103. Defendant denies the allegations as untrue.

 104. Defendant denies the allegations as untrue.

 105. Defendant denies the allegations as untrue.


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 106. Defendant denies the allegations as untrue.

 107. Defendant denies the allegations as untrue.

 108. Defendant denies the allegations as untrue.

 109. Defendant denies the allegations as untrue.

 110. Defendant denies the allegations as untrue.

 111. Defendant denies the allegations as untrue.

 112. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 113. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 114. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or




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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 115. The medical speak for themselves; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 116. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 117. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 118. Defendant denies the allegations as untrue.




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 119. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 120. Defendant denies the allegations as untrue.

 121. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 122. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 123. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 124. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 125. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




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 126. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 127. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 128. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 129. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 130. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 131. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




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 132. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 133. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 134. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 135. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 136. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the


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    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 137. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 138. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 139. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 140. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the


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    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 141. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 142. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 143. Defendant denies the allegations as untrue.

 144. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 145. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 146. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




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 147. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 148. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 149. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 150. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 151. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 152. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




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 153. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 154. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 155. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 156. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 157. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or




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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 158. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 159. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 160. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 161. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or


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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 162. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 163. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 164. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 165. The medical and jail records speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge


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    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 166. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 167. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 168. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 169. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or


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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 170. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 171. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 172. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 173. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or


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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 174. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 175. The medical records speak for itself; therefore, no response is required. In the

    event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 176. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 177. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or


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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 178. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 179. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 180. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 181. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or


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    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 182. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 183. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 184. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 185. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 186. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 187. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.


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 188. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 189. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 190. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 191. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 192. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.




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 193. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 194. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 195. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 196. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 197. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




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 198. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 199. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 200. Defendant denies the allegations as untrue.

 201. Defendant denies the allegations as untrue.

 202. Defendant denies the allegations as untrue.

 203. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 204. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 205. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.


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 206. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 207. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 208. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 209. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 210. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 211. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




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 212. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 213. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 214. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 215. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 216. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 217. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




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 218. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 219. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 220. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 221. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 222. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.




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 223. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 224. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 225. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 226. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.


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 227. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 228. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 229. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 230. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.


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 231. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 232. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 233. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 234. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.


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 235. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 236. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 237. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 238. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.


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 239. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 240. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 241. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 242. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.


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 243. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 244. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 245. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 246. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 247. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




                                           48
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 248. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 249. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 250. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 251. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 252. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 253. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.


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 254. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 255. The medical records speak for themselves; therefore, no response is required.

    In the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 256. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.

 257. The jail records speak for themselves; therefore, no response is required. In

    the event that a response is required, Defendant neither admits nor denies the

    allegations contained therein, because it lacks sufficient knowledge and/or

    information sufficient to form a belief as to the truth of these allegations, and thus

    leave Plaintiffs to their proofs.


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 258. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 259. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 260. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 261. The jail and medical records speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 262. Defendant denies the allegations as untrue.

 263. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.




                                           51
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 264. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 265. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 266. Defendant denies the allegations as untrue.

 267. Defendant denies the allegations as untrue.

 268. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 269. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 270. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor


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    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 271. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 272. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 273. Defendant denies the allegations as untrue.

 274. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 275. Defendant denies the allegations as untrue.


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 276. Defendant denies the allegations as untrue.

 277. Defendant denies the allegations as untrue.

 278. Defendant denies the allegations as untrue.

 279. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 280. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 281. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 282. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor


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    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 283. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 284. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 285. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 286. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor


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    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 287. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 288. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 289. Defendant denies the allegations as untrue.

 290. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 291. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.


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 292. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 293. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 294. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 295. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 296. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 297. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge


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    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 298. Defendant denies the allegations as untrue.

 299. Defendant denies the allegations as untrue.

 300. Defendant denies the allegations as untrue.

 301. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 302. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 303. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 304. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.




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 305. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 306. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 307. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 308. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.


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 309. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 310. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 311. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 312. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.


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 313. The policies and procedures speak for themselves; therefore, no response is

    required. In the event that a response is required, Defendant neither admits nor

    denies the allegations contained therein, because it lacks sufficient knowledge

    and/or information sufficient to form a belief as to the truth of these allegations,

    and thus leave Plaintiffs to their proofs.

 314. Defendant denies the allegations as untrue.

 315. Defendant denies the allegations as untrue.

 316. Defendant denies the allegations as untrue.

 317. Defendant denies the allegations as untrue.

 318. Defendant denies the allegations as untrue.

 319. Defendant denies the allegations as untrue.

                            V. CLASS ALLEGATIONS

 320. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23.

 321. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23.

 322. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23.

 323.   Defendant denies the allegations as untrue.




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 324. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23, and numerosity.

 325. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23 and denies existence of any common

    questions of law and fact.

 326. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23 and denies existence of any common

    questions of law and fact.

 327. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23 and typicality of claims.

 328. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23 and commonality of claims.

 329. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23.

 330. Defendant denies the existence of any class and or similarly situated

    individuals under Fed. R. Civ. P. 23 and the existence of any class claims.

 331. Defendant denies the allegations as untrue.

 332. Defendant denies the allegations as untrue.




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 333. Defendant neither admits nor denies the allegations contained therein, because

    it lacks sufficient knowledge and/or information sufficient to form a belief as to

    the truth of these allegations, and thus leave Plaintiffs to their proofs.

 334. Defendant neither admits nor denies the allegations contained therein,

    because it lacks sufficient knowledge and/or information sufficient to form a

    belief as to the truth of these allegations, and thus leave Plaintiffs to their

    proofs.

 335. Defendant neither admits nor denies the allegations contained therein,

    because it lacks sufficient knowledge and/or information sufficient to form a

    belief as to the truth of these allegations, and thus leave Plaintiffs to their

    proofs.

 336. Defendant denies that this case is appropriate for certification, denies that

    common issues of fact and law exist, and denies the existence of a class action.

    Plaintiff must move for certification of any alleged class.

                                  COUNT I
                          42 U.S.C. §§ 1983 and 1988
    Monell Claim - Fifth/Fourteenth Amendments (as to pre-trial detainees),
    Monell Claim, Denial of Due Process, Deliberate Indifference to Known
                            Serious Medical Needs

 337. Defendant incorporates by reference the responses above as if fully set forth

    herein.

 338. Defendant denies the allegations as untrue.


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 339. Defendant denies the allegations as untrue.

 340. Defendant denies the allegations as untrue.

 341. Defendant denies the allegations as untrue.

 342. Defendant denies the allegations as untrue.

 343. Defendant denies the allegations as untrue.

 344. Defendant denies the allegations as untrue.

                                COUNT II
                        42 U.S.C. §§ 1983 and 1988
   Monell Claim -Eighth Amendment (as to convicted detainees), Cruel and
   Unusual Punishment, Deliberate Indifference to Known Serious Medical
                                   Needs

345.   Defendant incorporates by reference the responses above as if fully set forth

   herein.

346.   Defendant denies the allegations as untrue.

347.   Defendant denies the allegations as untrue.

348.   Defendant denies the allegations as untrue.

349.   Defendant denies the allegations as untrue.

350.   Defendant denies the allegations as untrue.

351.   Defendant denies the allegations as untrue.

352.   Defendant denies the allegations as untrue.

                                  COUNT III
                           42 U.S.C. §§ 1983 and 1988
             Substantive Due Process Violation, State Created Danger


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 353. Defendant incorporates by reference the responses above as if fully set forth

    herein.

 354. No response is required as this paragraph states a legal conclusion.

 355. Defendant denies the allegations as untrue.

 356. Defendant denies the allegations as untrue.

 357. Defendant denies the allegations as untrue.

 358. Defendant denies the allegations as untrue.

 359. Defendant denies the allegations as untrue.

 360. Defendant denies the allegations as untrue.

 361. Defendant denies the allegations as untrue.

 362. Defendant denies the allegations as untrue.

 363. Defendant denies the allegations as untrue.

                               COUNT IV
                       42 U.S.C. §§ 1983 and 1988
    Fourteenth Amendment, Denial of Procedural Due Process Without
 Meaningful Opportunity to Challenge Determination or be Heard Regarding
                               Deprivation

 364. Defendant incorporates by reference the responses above as if fully set forth

    herein.

 365. Defendant denies the allegations as untrue.

 366. No response is required as this paragraph states a legal conclusion.

 367. Defendant denies the allegations as untrue.


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 368. Defendant denies the allegations as untrue.

 369. Defendant denies the allegations as untrue.

 370. Defendant denies the allegations as untrue.

 371. Defendant denies the allegations as untrue.

 372. Defendant denies the allegations as untrue.

 373. Defendant denies the allegations as untrue.

 374. Defendant denies the allegations as untrue.

 375. Defendant denies the allegations as untrue.

                               COUNT V
                 Common Law Negligence and Gross Negligence

 376. Defendant incorporates by reference the responses above as if fully set forth

    herein.

 377. Defendant denies the allegations as untrue.

 378. Defendant denies the allegations as untrue.

 379. Defendant denies the allegations as untrue.

 380. No response is required as this paragraph states a legal conclusion.

 381. No response is required as this paragraph states a legal conclusion.

 382. No response is required as this paragraph states a legal conclusion.

 383. No response is required as this paragraph states a legal conclusion.

 384. No response is required as this paragraph states a legal conclusion.

 385. No response is required as this paragraph states a legal conclusion.

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 386. No response is required as this paragraph states a legal conclusion.

 387. No response is required as this paragraph states a legal conclusion.

 388. No response is required as this paragraph states a legal conclusion.

 389. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 390. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 391. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 392. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 393. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.




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 394. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 395. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 396. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 397. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 398. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

 399. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.




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 400. Defendant denies the allegations as untrue. Further, Plaintiffs failed to follow

    Michigan procedural pre-suit requirements pursuant to MCL § 600.2912b to

    assert such claim.

                              RELIEF REQUESTED

       Defendant requests the Court deny all requested relief.

                                  JURY DEMAND

       Defendant demands a trial by jury.

                                        Respectfully submitted,

                                        CHAPMAN LAW GROUP

 Dated: February 10, 2021               /s/Wedad Suleiman
                                        Ronald W. Chapman Sr., M.P.A.,
                                        LL.M (P37603)
                                        Wedad Suleiman (P81970)
                                        Attorneys for Wellpath, LLC
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                                        Troy, MI 48098
                                        (248) 644-6326
                                        rchapman@chapmanlawgroup.com
                                        wsuleiman@chapmanlawgroup.com




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

  CHERYL HALL, and BRAD
  LAFUZE, on behalf of themselves and
  all others similarly situated,

           Plaintiffs,                         Case No. 20-cv-10670
                                               Hon. George C. Steeh
  v.                                           Mag. Judge Patricia T. Morris

  WELLPATH, LLC,

           Defendant.

  LIDDLE & DUBIN, P.C.                         CHAPMAN LAW GROUP
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          DEFENDANT WELLPATH LLC’S AFFIRMATIVE DEFENSES

 1. Plaintiffs’ Complaint, in whole and/or part, fails to state a claim upon which relief

       may be granted because Plaintiffs have failed to allege, or, if adequately alleged,

       cannot prove under the totality of the circumstances, that Defendant had an

       unconstitutional policy, practice, or custom that is proximately linked to any

       alleged injuries.




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 2. Plaintiffs’ Complaint, in whole and/or part, is barred by absolute and/or qualified

    governmental immunity from tort liability.

 3. Plaintiffs’ Complaint is barred by the non-joinder of parties under Fed. R. Civ.

    P. 19.

 4. Defendant will rely upon all defenses available to it under the Eighth and

    Fourteenth Amendments to the United States Constitution.

 5. Defendant will rely upon all defenses available to it under 42 U.S.C. § 1983.

 6. Defendant denies they breached any duties and deny it was negligent or violated

    the constitutional rights of Plaintiffs in any manner. At all times, Defendant was

    guided by and strictly observed all of the legal duties imposed upon it by the

    United States Constitution, Federal Statutes, and common law.

 7. Plaintiffs’ claims do not rise to the level of constitutional violations cognizable

    under the Eighth and/or Fourteenth Amendments or under 42 U.S.C. §1983.

 8. Defendant is not liable for exemplary or punitive damages under 42 U.S.C.

    §1983.

 9. Defendant did not violate any clearly established Constitutional rights of which

    Defendant was or should have been aware.

 10.Plaintiffs’ alleged injuries and/or resulting damages, if any, are attributable to

    entities and/or persons other than Defendant.




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 11.Plaintiffs’ claims are barred, in whole or in part, by the doctrine of comparative

    negligence. Additionally, Plaintiffs were negligent in not adequately informing

    medical staff of the alleged injuries.

 12.Any alleged damages sustained by Plaintiffs were proximately caused totally, or

    in part, by their own negligence and/or willful acts, and any recovery by the

    Plaintiffs must therefore be diminished in whole or in part.

 13.At all times pertinent to the instant litigation, Plaintiffs were negligent, which

    directly or proximately contributed to cause the alleged injuries, if any, and the

    Plaintiffs’ recovery must be reduced in proportion to said negligence.

 14.Plaintiffs’ claims fail to rise to the level of a constitutional violation.

 15.Plaintiffs’ claims are barred by the statute of limitations.

 16.Plaintiffs’ claims are barred by 42 U.S.C. §1997e for failure to exhaust available

    administrative remedies.

 17.Plaintiffs have failed to state allegations against Defendant that constitutes

    deliberate indifference to a serious medical need, and/or that Plaintiffs’ injuries

    were the result of an unconstitutional policy, practice, or procedure put in place

    by the Defendant.

 18.Defendant is entitled to dismissal because their actions were not wanton and

    reckless with regard to the rights of Plaintiffs but were, if anything, medical

    judgment calls.


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 19.Defendant employs licensed healthcare professionals and, as such, must be sued

    under the medical malpractice framework established by the legislature which

    requires, among other things, the filing of a Notice of Intent one hundred eighty-

    two (182) days prior to filing a Complaint and the attachment of an Affidavit of

    Merit to the Complaint. See Bryant v. Oakpointe Villa Nursing Centre, 471 Mich.

    411, 422 (2004); Scarsella v. Pollak, 461 Mich. 547, 553 (2000); and MCL §

    600.2912b.

 20.Defendant specifically reserves the right to add any other Affirmative and/or

    Special Defenses, as may become known or discovered in the course of

    subsequent investigation or discovery.

 21.Plaintiff fails to adequate allege a class pursuant to Fed. R. Civ. P. 26


                                         Respectfully submitted,

                                         CHAPMAN LAW GROUP

 Dated: February 10, 2021                /s/Wedad Suleiman
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                             PROOF OF SERVICE

            I hereby certify that on February 10, 2021 I presented the
            foregoing paper to the Clerk of the Court for filing and
            uploading to the ECF system, which will send notification
            of such filing to the attorneys of record listed herein and I
            hereby certify that I have mailed by US Postal Service the
            document to the involved nonparticipants.

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